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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                             )
PENNSYLVANIA and STATE OF                   )
NEW JERSEY,                                 )
                                            )
                       Plaintiffs,          )
v.                                          )       Civil Action No. 2:17-cv-04540 (WB)
                                            )
JOSEPH R. BIDEN, in his official            )
capacity as President of the United States; )
et al.,                                     )
                                            )
                       Defendants.          )
____________________________________)

                                      STATUS REPORT

       On August 2, 2021, the Court entered an order staying this case and instructing Federal

Defendants to file a status report on or before October 29, 2021 and every 90 days thereafter. ECF

No. 281. And on January 3, 2022, the Court issued an order directing that the case remain stayed,

and that Federal Defendants file a status report on or before January 27, 2022, and every 90 days

thereafter. ECF No. 283. Federal Defendants report the following:

1.     This case involves a challenge to final rules that the defendant agencies issued in 2018

expanding the prior religious exemption to the contraceptive coverage requirement and creating a

new moral exemption. See Religious Exemptions and Accommodations for Coverage of Certain

Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15, 2018); Moral Exemptions and

Accommodations for Coverage of Certain Preventive Services Under the ACA, 83 Fed. Reg.

57,592 (Nov. 15, 2018).

2.     This Court entered a preliminary injunction; the judgment was reversed and remanded by

the Third Circuit on August 21, 2020, following the Supreme Court’s decision in Little Sisters of

the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020).
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3.     On July 30, 2021, Federal Defendants filed a motion asking the Court to stay the case to

permit them to evaluate the issues presented by this litigation, as well as their regulatory and policy

options. ECF No. 279. The Court had previously granted two other similar motions made by

Federal Defendants. See ECF Nos. 271, 275.

4.     On August 2, 2021, the Court granted Federal Defendants’ motion and entered an order

staying the case. ECF No. 281. In that order, the Court also instructed Federal Defendants to file

a “status report on or before October 29, 2021, and every 90 days thereafter.” Id.

5.     On August 16, 2021, Federal Defendants announced that “[t]he Departments [of Health

and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6 months to

amend the 2018 final regulations and obtaining public input will be included as part of the

Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions, Affordable Care Act

Implementation        FAQs        (Set     48)      (Aug.       16,      2021)      (available      at

https://www.cms.gov/CCIIO/Resources/Fact-Sheets-and-FAQs#Affordable_Care_Act).

6.     On January 3, 2022, the Court issued an order directing that the case remain stayed, and

that Federal Defendants file a status report on or before January 27, 2022, and every 90 days

thereafter. ECF No. 283. On January 9, 2024, following a status conference, the Court dismissed

the parties’ pending merits briefs without prejudice, and maintained the present stay. ECF No.

311.

7.     In April 2023, Federal Defendants notified the Court that they had published a notice of

proposed rulemaking in February 2023 that would “amend regulations regarding coverage of

certain preventive services under the Patient Protection and Accordable Care Act, which requires

non-grandfathered group health plans and non-grandfathered group or individual health insurance
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coverage to cover certain contraceptive services without cost sharing.” U.S. Dep’t of Treasury,

U.S. Dep’t of Labor, & U.S. Dep’t of Health & Human Servs., Coverage of Certain Preventive

Services Under the Affordable Care Act, 88 Fed. Reg. 7236 (Feb. 2, 2023), available at

https://federalregister.gov/documents/2023/02/02/2023-01981/coverage-of-certain-preventive-

services-under-the-affordable-care-act. The comment period for the proposed rule closed on April

3, 2023. Federal Defendants received over 44,000 comments to the proposed rule. Review and

assessment of the thousands of comments to the proposed rule is ongoing.

8.        The Office of Management and Budget periodically issues a Unified Agenda of Regulatory

and Deregulatory Actions (Unified Agenda), which reports on administrative agencies’ planned

regulatory actions.       The Unified Agenda represents Federal Defendants’ statement of their

expectations regarding the timeline for rulemaking. The Fall 2023 Unified Agenda, which is the

most recent Unified Agenda as of this filing, states that Federal Defendants expect to publish the

Final Rule in August 2024. Executive Office of the President of the United States, Office of

Information and Regulatory Affairs, Office of Management and Budget, HHS/CMS, Coverage of

Certain      Preventive     Services    Under     the    Affordable     Care    Act,    available    at

https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202310&RIN=0938-AU94.

9.        Federal Defendants propose that the case remain stayed, and that Federal Defendants

continue to file status reports every 90 days to apprise the Court of the status of the rulemaking

and their position on the need for a continued stay.

10.       Plaintiffs have advised that they do not oppose keeping the litigation in its current posture.

Dated: April 22, 2024                            Respectfully submitted,


                                                 BRIAN NETTER
                                                 Deputy Assistant Attorney General

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